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                     EXHIBIT I
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                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF NEW YORK


JEREMY ZIELINSKI, TRAVIS HUDSON, BRUCE
MOSES, OSCAR NUNEZ, JEAN MARC DESMARAT,
AND DAVID HAIGH, on behalf of themselves and all
others similarly situated,

       Plaintiffs,                                           No. __________________

       v.

NEW YORK DEPARTMENT OF CORRECTIONS AND                       DECLARATION OF
COMMUNITY           SUPERVISION;        ACTING               JEREMY ZIELINKSI
COMMISSIONER DANIEL F. MARTUSCELLO III, in
his official capacity; SUPERINTENDENT DAVID
HOWARD, in his official capacity; and DEPUTY
SUPERINTENDENT FOR PROGRAM SERVICES
DANIELLE GLEBOCKI, in her official capacity

       Defendants.




       I, Jeremy Zielinski, declare under penalty of perjury pursuant to 28 U.S.C. § 1746

that the following is true and correct:

       1.      I am a plaintiff in the above action, which challenges defendants’ refusal to

allow me to congregate for a religious celebration with other incarcerated people for whom

the April 8, 2024 total solar eclipse (the “Eclipse”) has religious significance.

       2.      I make this declaration in support of my instant motion for a temporary

restraining order and preliminary injunction barring defendant Daniel Martuscello from

enforcing a statewide prison lockdown planned for April 8, 2024 from 2:00PM to 5:00PM

that will, unless modified to allow religious exemptions, prevent any congregate

observation of the Eclipse in any DOCCS facility.
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       3.      This case ultimately distills to the question of whether the defendants’

refusal to allow me and other people to engage in a congregate Eclipse Day celebration

imposes a “substantial burden” on a “religious exercise” in violation of the Religious Land

Use and Institutionalized Persons Act, 42 U.S.C. §§ 2000cc et seq. (“RLUIPA”). I’ll thus

describe my sincere religious beliefs, though by necessity in condensed form, then show

how the defendants’ refusal substantially burdens those beliefs.

       4.      Since I entered DOCCS custody in late 2016 I’ve identified my religious

beliefs as Atheist.

       5.      Many people misunderstand what this means. Atheism is often equated with

lack of any religious beliefs, thought of as mere “denial of the existence of God” or

something to that effect, or treated as equivalent to materialism. None of these is accurate.

       6.      I summarize Atheism rather as a religious devotion to using only science

and reason to ask and answer all questions, including, most importantly, the “ultimate

questions” and “deep and imponderable matters” that form the stuff of conventional

religions – the nature of reality and our place in it, whether consciousness survives death,

the proper basis for and content of a moral code, and so on.

       7.      Contrary to popular misconception, Atheism is, in fact, based on faith. Faith

is our capacity to act in matters of great importance, on the premise that a particular

proposition is true, because it's sufficiently convincing to call a belief, even though it

contains some remainder of uncertainty that prevents it from being classified as true

knowledge. Atheists use science to ask and answer questions, but not merely as a practical

enterprise: It's how we seek truth, which is what we consider divine.




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       8.      The terms “truth” and “divine” are of course subject to different

interpretations. I mean them, however, as follows: Truth is awareness. Divinity is

expansion. William James said (in The Varieties of Religious Experience) that “there never

can be a state ... to which new meaning may not truthfully be added, provided the mind

ascend to a more enveloping point of view.” It’s this kind of ascension that I mean by

divine: In Atheism, divinity is not an entity nor a property of any entity – a god, for example

– but rather is a process: It is the process, the experience, of converting curiosity into

consciousness, of seeking answers and finding them.

       9.      If there’s any defining characteristic of Atheists, it's that we are curious. We

seek above all else to know, to learn, to expand, to become more aware, of the world, of

reality, of ourselves, and of others. In Atheism, all acquisition of knowledge is divine. To

become more aware of stars and subatomic particles, of the relations we share with each

other, of what brings our closest companions joy – to the deepest extent possible – is not

merely the means to an end, for there is no end: Every question rightly asked leads to

answers, and every answer rightly found leads to yet more awesome questions. And we

rejoice that so far as we can tell, no matter how small or great our awareness might be, no

matter how vast the darkness might be surrounding what the light of our knowledge reveals,

existence knows no bounds to its willingness to yield the darkness to our curiosity –

provided we make the right inquiries. To keep on this path, even when we discover what

we thought of as knowledge belongs more properly in the category of belief, when what

we become aware of requires us to recognize beliefs as mistakes, requires faith. It can’t be

proven that the questions we sow will reap fruits of knowledge in the future, it can’t be




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known to a certainty, but we believe it and choose to act on it hopefully, joyfully –

curiously. This, in the truest sense, is faith.

          10.   In another sense, faith is what we rely on to stay hopeful through times of

great difficulty in our lives, even when it seems there’s good reason to give up. In this latter

sense, Atheists can and do rely on the old-world religions’ vast repository of wisdom, much

of which is so self-evident that questioning it would be profoundly unscientific. The

Golden Rule, for instance, or the trichotomy presented by the Serenity Prayer. They also

made some mistakes, but that doesn’t diminish what they found. Flowers are not made less

beautiful by the field having a few weeds.

          11.   I obviously don’t speak for all Atheists, and clearly not every Atheist would

describe their beliefs in this way. But this is, in my experience a concise approximation of

the driving faith behind Atheism as practiced today. At the very least, it’s how I practice

it.

          12.   In this case, I asked to observe the April 8 solar eclipse to celebrate scientific

achievement. I believe that by celebrating the curiosity behind discoveries like astrophysics

and the ability to know precisely when an eclipse will occur, we can inspire even more

penetrating inquiries – issues like the nature of time, of life, of human connection, of matter

and consciousness and how they relate, and similar areas of inquiry that, we hope, our

descendants will wonder at why we didn't explore sooner. Our world is conflicted, injured

by our contentiousness, by disagreements that threaten to rend the very fabric of human

society, to annihilate millennia of progress in an armageddon of our own design. Think of

great works like the Bible, the Quran, the vast body of philosophy, of law, of poetry, music,

art, our ability to manipulate individual atoms at so low a cost we had to invent new kinds



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of math to measure it. What would it cost us if even a fraction was lost through being

careless, for not recognizing its irreplaceable value and acting to ensure we protect it? Our

world is a paradise beyond what our ancestors just a few centuries back could even imagine.

And yet, it’s the product of choice: Of what we’ve chosen to ask of reality, of the light

we’ve divinely shined into the darkness.

       13.     It’s for this reason I believe that what I've referred to as Eclipse Day simply,

absolutely, unavoidably, must be a multifaith event. Whatever their mistakes – and this

includes Atheism – the world’s great religions all have this much in common: They seek

truth because they recognize its divinity. Every religion worthy of the name originated in

a single individual becoming aware of some greater part of reality than their

contemporaries were capable of perceiving. Each person with any kind of faith has this

much in common: At some point in their lives, they’ve reached the limits of their

understanding, found themselves at the boundaries of their awareness, glimpsed the

darkness that lies beyond, and taken a step more or less boldly on with nothing but their

own light to guide them – then returned to share with the rest of us what they found. It’s

that kind of courageous curiosity I believe we most desperately need to navigate the terrain

we now find ourselves on as a people. The most effective way to identify the areas of

darkness we most need to explore, to disseminate awareness of how to enlighten them

quickly, is to bring as many people as possible together who've exercised their faith not in

the same way, but in different ways.

       14.     That is, I believe that what we need most now is not sameness, but

distinctiveness, not the same well-worn paths to the same well-lit settlements, but divine

trailblazers to new understandings. We’ve reached the capacity of bounded faith to provide



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enough light for our world – the darkness beyond what we know has become at once more

inviting and more nebulous, subtler, more active. It challenges us, tests us, yields but

mirage to the individual wavelengths that served us so well in the past. To light the next

steps in our shared path to ascension, we have to combine what we’ve learned in new ways,

ask more articulate questions.

         15.   It’s simply not possible to do that alone. The nature of reality requires that,

to find new truths, faith itself innovate, develop new tools, create new instruments, imagine

– and make real – a more advanced, more evolved, type of curiosity – one that’s only

possible together.

         16.   I know this case is immeasurably small. The eclipse I seek to observe with

others is fleeting, an event that will be gone in a cosmic instant, barely measurable against

infinite time. But that same fleetingness makes it valuable in as large a degree as its

duration is brief. Moments when people of vastly different faiths converge in a single

shared joy are exceedingly rare. The price of missing any is unknowable, but substantial

by any measure.


I declare under penalty of perjury that the foregoing is true and correct.


Dated:         Woodbourne, New York
               March 27, 2024


                                                      /s/ Jeremy Zielinski
                                                      JEREMY ZIELINSKI, Plaintiff
                                                      Woodbourne Correctional Facility
                                                      DIN 16A3601
                                                      99 Prison Road, P.O. Box 1000
                                                      Woodbourne, NY 12788-1000




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